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                                    DEFENDANT DECLARED INDIGENT
                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 22-80100-CR-MIDDLEBROOKS


  UNITED STATES OF AMERICA,

        vs.

  ANTON PECK.
  ____________________________/


                                NOTICE OF APPEAL

        NOTICE IS HEREBY GIVEN that ANTON PECK, Defendant above-named,
  hereby appeals to the United States Court of Appeals for the Eleventh Circuit from the
  Final Judgment In A Criminal Case and sentence (DE:46), entered in this action on
  December 1, 2022.


                                           /s/ Michael G. Smith, Esq.
                                          MICHAEL G. SMITH, ESQ.


                           CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on December 14, 2022, I electronically filed the
  foregoing document with the Clerk of the Court using CM/ECF, and that it is being
  served this day on all counsel of record via transmission of Notices Of Electronic
  Filing generated by CM/ECF.
                                            /s/ Michael G. Smith, Esq.
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